DocuSign Envelope ID: E571DA91-8913-4B4A-ABEA-18E8C6231397
                 Case 24-20226        Doc 13-2 Filed 06/19/24 Entered 06/19/24 15:12:57       Desc
                                     Affidavit Declaration of Kenny Lok Page 1 of 3



                               IN THE UNITED STATES BANKRUPTCY COURT

                                          FOR THE DISTRICT OF WYOMING

                                                             )
            In re                                            )
                                                             )
                                  Clicked AI,                )   Case No. 24-20226
                                                             )   Chapter 11
                                                             )
                                Debtor.                      )   DECLARATION OF KENNY LOK IN
                                                             )   SUPPORT OF EXPEDITED MOTION FOR
                                                             )   ENTRY OF ORDER AUTHORIZING USE
                                                             )   OF CASH COLLATERAL
            __________________________________               )

            I, Kenny Lok, hereby declare as follows:

                 1. I have personal knowledge of the facts set forth below and, if called as a witness,

            could and would testify competently thereto.

                 2. I am the President of Clicked AI, a Wyoming corporation (the “Company”). The

            Company is in the business of purchasing and reselling retail goods in bulk.

                 3. The Company is a going concern with average monthly revenue of approximately

            $270,000.00 per month. It has sixteen contractors that perform administrative and day to

            day functions for the Company. Paying these contractors is necessary for the company to

            continue operations. The Company also has ordinary operating expenses for the purchase

            of new inventory, for rent for its office and other customary expenses.     The Company

            proposes to use its cash to pay ordinary business expenses.

                 4. Currently, the Company is unable to pay its liabilities as they become due. If the

            amount of secured debt were reduced commensurate with the value of the Company’s

            assets, then the Company would be viable going forward.
DocuSign Envelope ID: E571DA91-8913-4B4A-ABEA-18E8C6231397
                 Case 24-20226        Doc 13-2 Filed 06/19/24 Entered 06/19/24 15:12:57        Desc
                                     Affidavit Declaration of Kenny Lok Page 2 of 3



                 5. There are certain secured creditors with an interest in the Company’s cash

            collateral,     They are (1) Amazon Capital Services, Inc. dba Amazon Lending; (2)

            Syndimate 2017 LP; (3) Celtic Bank dba Kabbage; and (4) Parafin Inc. These creditors

            have security interests in the Company’s accounts receivables and/or inventory.

                 6. After the filing of Clicked AI’s chapter 11 petition on June 13, 2024, creditor

            Amazon Capital Services, Inc, doing business as Amazon Lending, froze Clicked AI’s

            Amazon seller account (“Seller Account”), which is administered by Amazon Services

            LLC or an affiliate of Amazon.com, Inc. Specifically, on the Amazon web portal for

            Clicked AI, there is a notation that Amazon is holding $74,664.55 of Clicked AI’s money

            in an “Account Level Reserve.” See Exhibit A.

                 7. According to the June 16, 2024 web portal report, Clicked AI had a “beginning

            balance” of a positive $68,052.63, plus additional sales proceeds of $20,898.63, which

            represents money that Clicked AI has earned through its sales since June 13, 2024 but

            which is still in Amazon’s possession and which has not been remitted to Clicked AI.

            After deducting for certain expenses ($13,387.59) and refunds ($909.02), the web portal

            for Clicked AI with Amazon should reflect net proceeds of $74,664.55, but instead

            reflects “net proceeds” of zero, with Amazon holding the $74,664.55 in an “Account

            Level Reserve.” See Exhibit A. This action appears to be the result of Clicked AI’s

            chapter 11 filing.

                8. Virtually all of Clicked AI‘s sales occur on Amazon’s amazon,com platform.

            Amazon has assigned a merchant number A3ITMN7TLDLXFM to Clicked AI.
DocuSign Envelope ID: E571DA91-8913-4B4A-ABEA-18E8C6231397
                 Case 24-20226        Doc 13-2 Filed 06/19/24 Entered 06/19/24 15:12:57          Desc
                                     Affidavit Declaration of Kenny Lok Page 3 of 3



                9. If Amazon Services LLC, Amazon.com, Inc. and Amazon Capital Services Inc.

            doing business as Amazon Lending are allowed to continue withholding Clicked AI’s

            earned revenue, then Clicked AI will quickly be forced to cease operations. The funds

            that Amazon is holding are crucial for Clicked AI to pay for its day-to-day operations and

            to purchase replacement inventory.

                 10. In order for the Company to continue as a going concern and to propose a feasible

            chapter 11 plan, it is imperative that the Company be allowed both to use the proceeds

            from its sales to purchase new inventory and that it be allowed to sell its existing

            inventory in the ordinary course of business.          Allowing the use of cash collateral now

            will be in the best interest of creditors, who stand to receive more from a successful

            reorganization than from liquidation of the Company.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

            the United States of America that the foregoing is true and correct and that I executed this

            declaration on June 18, 2024.


                                                             ___/s/ Kenny Lok _______________

                                                             President
                                                             Clicked AI
